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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

Angel Alejandro Heredia Mons, et al.,     )
on behalf of themselves and others        )
similarly situated,                       )
                                          )
                   Plaintiffs,            ) Case No. 1:19-cv-01593-JEB
                                          )
         v.                               )
                                          )
Chad Wolf, Acting Secretary of the        )
Department of Homeland Security, in his   )
official capacity, et al.                 )
                                          )
                  Defendants.             )
                                          )

 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
     LEAVE TO INTERVENE AND TO UNSEAL JUDICIAL DOCUMENTS




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       The Center for Investigative Reporting, d/b/a Reveal from The Center for Investigative

Reporting (“CIR” or “Proposed Intervenor”), by and through undersigned counsel, respectfully

submits this memorandum of points and authorities in support of its motion seeking leave to

intervene under Rule 24 of the Federal Rules of Civil Procedure, for the limited purpose of

requesting the unsealing of Defendants’ parole determinations for the benefit of the public interest.

                                I.   PRELIMINARY STATEMENT

       The policies and practices of the Department of Homeland Security (“DHS”), including

how DHS adjudicates asylum cases, and detains individuals throughout the process are some of

the most discussed issues before our nation today. Indeed, DHS’s detention policies have become

a matter of heightened public concern since the rise of COVID-19 escalated the importance of

health precautions taken inside detention centers. This litigation—a class action brought by

asylees challenging DHS’s failure to follow its parole policies—is thus of immense interest to U.S.

citizens and others around the world, who seek to understand whether the government is

systematically detaining individuals without the possibility of parole, and equally seek to monitor

the government’s progress to ensure that justice is done. None of this is possible if DHS is

permitted to keep its monthly productions of parole determinations indefinitely under seal, as is

now the case.

       Accordingly, CIR, the oldest non-profit investigative newsroom in the country, now moves

this Court, on behalf of the public, to unseal Defendants’ parole determinations, to better inform

the American public about this critically important issue. Specifically, CIR seeks to vindicate the

public’s First Amendment and common-law rights of access to judicial records, both of which

apply to the parole determinations at issue here. Although these rights of access may be overcome

by compelling and narrowly-tailored government interests in keeping the documents under seal,



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no such interests exist here, especially where similar records involving detainees have previously

been disclosed. See infra Section III(B)(2-3). The only possible interest in sealing the parole

determinations is protecting Plaintiffs’ privacy, but this concern is easily addressed by redacting

Plaintiffs’ personally identifying information in the documents (i.e. redacting names and A-

numbers)—to which CIR readily agrees. Courts have applied such redactions in similar cases

involving immigration records. Otherwise, there is no justification for maintaining government

secrecy—for years—especially where, as here, there is great public interest in dissemination.

                                      II.   BACKGROUND

A.     THE DOCUMENTS THAT CIR SEEKS TO UNSEAL

       On May 30, 2019, Plaintiffs, a group of asylum seekers detained at the New Orleans ICE

Field Office pending their asylum hearings, filed this lawsuit against officials at DHS and ICE.

See generally Compl. In that process, Plaintiffs alleged that the agency was not following its

parole policy called the Parole Directive. See ICE Directive 11002.1, Parole of Arriving Aliens

Found to Have a Credible Fear of Persecution or Torture (Dec. 8, 2009), ¶ 6.2.,

https://www.ice.gov/doclib/dro/pdf/11002.1-hd-

parole_of_arriving_aliens_found_credible_fear.pdf      (hereinafter,   the   “Parole   Directive”)

(Declaration of D. Victoria Baranetsky ¶ 3, Ex. 1) (hereinafter, “Baranetsky Decl.”). The Parole

Directive requires the agency make individualized parole determinations and follow certain

procedural safeguards, and defines the circumstances under which there is a “public interest” in

granting parole pursuant to the Immigration and Nationality Act (“INA”). Specifically, the INA

states, asylum seekers who do not pose a flight risk or a danger to the community may be paroled

by DHS on a “case-by-case basis for urgent humanitarian reasons or significant public benefit.” 8

U.S.C. § 1182(d)(5)(A); 8 C.F.R. § 212.5(b); see also 8 C.F.R. § 235.3(c). The Parole Directive



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also instructs ICE Detention and Removal Operations field offices to follow detailed procedures

in making parole determinations and establishes reporting requirements “to ensure accountability

and compliance with [its] procedures.” Id. Instead of following the Parole Directive, Plaintiffs

alleged that Defendants were engaging in systematic detention. See generally Compl. Thus,

Plaintiffs filed a motion for preliminary injunction to enjoin Defendants from disregarding their

own policy of granting parole, in violation of the Administrative Procedure Act, the INA, and the

Due Process Clause of the Fifth Amendment. See Dkt. No. 22-1.

        On September 5, 2019, the Court granted Plaintiffs’ motion. See Dkt. No. 33 at 2

(hereinafter, “Preliminary Injunction Order”). In particular, the Court noted that it had recently

granted a preliminary injunction on the same issue in the companion case of Damus v. Nielson,

313 F. Supp. 3d 317, 343 (D.D.C. 2018); and that Defendants rested on the same arguments as in

that case, aside from a new jurisdictional argument that the Court also rejected. See Mons v.

McAleenan, No. CV 19-1593 (JEB), 2019 WL 4225322, at *1 (D.D.C. Sept. 5, 2019), appeal

dismissed sub nom. Mons v. Wolf, No. 19-5306, 2020 WL 3635095 (D.C. Cir. June 29, 2020). On

September 18, 2019, the Court also ordered the parties to file a Joint Status Report by October 2,

2019 “concerning proposed future reports akin to those in Damus.” Sept. 18, 2019 Minute Order.

(In Damus, the Court had ordered Defendants to provide Plaintiffs with individualized parole

determinations while the suit was pending. See Damus, Case No: 1:18-cv-00578-JEB, Dkt. No.

33 at 2.)

        On October 2, 2019, the parties filed a Joint Status Report (Dkt. 35) setting forth their

respective positions on how Defendants should provide these individualized parole determinations

to the Court. Defendants proposed that they “submit to the Court on a monthly basis two

spreadsheets”—the first of which would “be a manually produced spreadsheet that would reflect



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adjudications for those individuals who had been denied parole prior to September 5, 2019, and

who request a new adjudication pursuant to the provisions of the previously submitted class

notice”; and the second of which “would track the parole determinations conducted for newly

arriving detainees at the New Orleans Field Office for the period beginning September 5, 2019,

and on a going forward basis.” Id. at 2.

       In these reports, Defendants agreed to include the following information for each class

member in detention: (1) name, alien number, and detention facility; (2) date booked into ICE

custody; (3) date and outcome of the new parole determination, including whether the provisional

class member was ordered released; (4) if applicable, the date of the provisional class member’s

release from ICE custody; and (5) if applicable, the reason the provisional class member was

denied parole. Id. at 2, 5. Defendants also proposed “filing both forms of monthly reports under

seal . . . .” Id. at 3. On October 7, 2019, the Court ordered Defendants to issue their reports “in

the manner [they] proposed . . . in the Status Report.” Oct. 7, 2019 Minute Order.

       On November 24, 2019, the parties filed their Stipulated Protective Order, which provided

that: “The Court authorizes counsel for Defendants by this Order to file under seal reports

(including in chart form) referenced in the minute order dated October 7, 2019.” Dkt. No. 40 ¶ 8.

The Court adopted this Stipulated Order the next day in a Minute Order on the docket, see Nov.

25, 2019 Minute Order, and thereafter ordered Defendants to submit their first monthly report by

December 6, 2019, see Nov. 26, 2019 Minute Order. Accordingly, the Court never entered an

order considering the First Amendment or common-law implications of the sealing, nor did the

parties brief these issues. See generally id. Rather, starting on December 6, 2019 and continuing

on a monthly basis thereafter, Defendants simply filed these reports under seal. See Dkt. Nos. 42,

44, 56, 58, 59, 71, 80, 83, 91.



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       On May 13, 2020, Plaintiffs filed a motion for contempt and additional discovery, stating

that—based in part on their review of the monthly reports provided by Defendants—Defendants

had violated the Preliminary Injunction Order. Dkt. No. 76. On July 22, 2020, the Court granted

in part Plaintiffs’ motion, finding that they had raised “a sufficient question of [Defendants’]

noncompliance.” Dkt. No. 89. In reaching this conclusion, the Court focused on data from

Defendants’ monthly productions of parole determinations—namely the fact that “[i]n the roughly

seven months following this Court’s Order on September 5, 2019, the New Orleans Field Office

granted approximately 13.5% of total parole applications. . . . That figure stands in stark contrast

to the aforementioned 75.5% grant rate in 2016.” Id. at 4. The litigation is still ongoing, and it is

anticipated that, at the close of discovery, both parties will move for summary judgment and

Plaintiffs may move for permanent injunctive relief.

       Because of the immense public interest in the parole determinations at issue in this case,

counsel for CIR asked counsel for both parties if they would stipulate to the unsealing of these

parole determinations. Plaintiffs’ counsel represented that his clients will not oppose the motion,

so long as Plaintiffs’ privacy is maintained through easily employed redactions (such as names

and A-numbers). See Baranetsky Decl. ¶ 4, Ex. 2. Defendants’ counsel opposed the unsealing

request, and stated that he would “take a further position after having an opportunity to review the

motion as filed.” Id. ¶ 5, Ex. 3. Now, CIR files the instant motion to unseal the documents, which

are currently in the custody of the Clerk of Court as sealed records of this proceeding. CIR is

committed to making publicly available whatever portion of the records are unsealed in a way that

educates the public through its reporting and by providing context for these important documents.




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B.     PROPOSED INTERVENOR’S INTEREST ON BEHALF OF THE PUBLIC

       Founded in 1977, Proposed Intervenor CIR is the oldest investigative newsroom in

America listened to by millions of public radio listeners around the country and nearly 3 million

podcasts listeners every month.      See About Us, REVEAL, https://revealnews.org/about-us/

(Baranetsky Decl. ¶ 6, Ex. 4). CIR operates Reveal, an online news site at revealnews.org, and

Reveal, a weekly public radio show. Id. It has received numerous awards for its reporting and

been a finalist for various awards like the Pulitzer Prize and Oscar for best documentary. Id. As

an investigative newsroom, CIR is uniquely situated to assess the desire of its listeners, viewers,

and readers have to view the unsealed court records. That desire remains voracious. Given the

public outcry surrounding ongoing decisions made by DHS involving asylees as well as other

related practices, the public has an immediate and overwhelming interest in understanding the facts

surrounding the agency’s decision-making over time, particularly those affecting detainees.

       Indeed, as recent news media reports have shown, DHS’s actions regarding the detention

of immigrants are perhaps some of the most reported on stories of the year. See Jonathon Blitzer,

How Stephen Miller Manipulates Donald Trump to Further His Immigration Obsession, NEW

YORKER, Feb. 21, 2020, https://www.newyorker.com/magazine/2020/03/02/how-stephen-miller-

manipulates-donald-trump-to-further-his-immigration-obsession (Baranetsky Decl. ¶ 7, Ex. 5);

Tara      Golshan,       The      2020       Immigration Debate, Explained, VOX, July 29, 2019,

https://www.vox.com/2019/7/29/6741801/2020-democrat-presidential-immigration-debate

(Baranetsky Decl. ¶ 8, Ex. 6). Additionally, public outcry over DHS’s actions has led political

candidates and members of Congress to call for increased transparency and reform.               Id.

(summarizing six presidential candidates’ plans for reform); Letter from Rep. Jason Crow et al.,

to Matthew Albence, Acting Director, U.S. Immigration & Customs Enforcement (Apr. 20, 2020),



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https://crow.house.gov/sites/crow.house.gov/files/Letter%20to%20Acting%20Director%20Albe

nce%20to%20Provide%20Non-ICE%20Employee%20COVID-19%20Data.pdf                              (Baranetsky

Decl. ¶ 9, Ex. 7) (letter from twelve members of Congress requesting increased transparency in

ICE’s policies).

        Additionally, DHS’s power to make parole determinations has taken on a new salience

during the COVID-19 pandemic, as failure to grant parole can put detainees at substantial risk of

contracting the virus in crowded ICE detentions centers. See Laura C. Morel, Inside ICE

Lockdown: Face Masks Made of Socks, No Hand Sanitizer and Growing Tensions, REVEAL, Apr.

7, 2020, https://www.revealnews.org/article/inside-ice-lockdown-face-masks-made-of-socks-no-

hand-sanitizer-and-growing-tensions/ (Baranetsky Decl. ¶ 10, Ex. 8). The fact that ICE has total

discretion to release many of the detainees in its custody, and could unilaterally prevent the

“foreseeable disaster” of putting thousands of detainees at risk for COVID-19, has only fed public

interest and criticism of the agency’s practices. Noah Lanard, ICE Is Ignoring a Simple Way to

Slow the Spread of Coronavirus: Let People Out of Detention, MOTHER JONES, Mar. 13, 2020,

https://www.motherjones.com/politics/2020/03/ice-is-ignoring-a-simple-way-to-slow-the-spread-

of-coronavirus-let-people-out-of-detention/ (Baranetsky Decl. ¶ 11, Ex. 9).1

        In providing the American public with access to these important government actions, there

is no substitute for the insight and illumination that only the judicial records can provide. See, e.g.,

Noah Lanard, 7 Detainees Sued ICE. Then They Were Transferred to a Notorious Alabama Jail.,




1
 “Ensuring that asylum seekers have access to a meaningful parole process has become even more
critical in light of the Supreme Court’s recent decision in Jennings v. Rodriguez, 138 S. Ct. 830
(2019)” (enumerating that the parole process is required). Compl. ¶ 6. Similarly, this Court in
R.I.L-R. v. Johnson, 80 F. Supp. 3d 164 (D.D.C. 2015), preliminarily enjoined a DHS policy of
detaining families seeking asylum that was designed to “send[] a message of deterrence” to other
migrants. Id. at 188-89.
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MOTHER JONES, July 21, 2020, https://www.motherjones.com/politics/2020/07/seven-detainees-

sued-ice-then-they-were-transferred-to-a-notorious-alabama-jail/ (Baranetsky Decl. ¶ 12, Ex. 10);

Emails Show Officials Blocked Coronavirus Testing During Outbreak at Mesa Verde ICE Jail,

DEMOCRACY                     NOW,                    Aug.                  7,                 2020,

https://www.democracynow.org/2020/8/7/headlines/emails_show_officials_blocked_coronavirus

_testing_during_outbreak_at_mesa_verde_ice_jail (Baranetsky Decl. ¶ 13, Ex. 11); Monique O.

Madan, Miami Federal Judge Orders a New Fact-Finder to Investigate ICE Detention Centers,

MIAMI                   HERALD,                      July                 20,                  2020,

https://www.miamiherald.com/news/local/immigration/article244346252.html (Baranetsky Decl.

¶ 14, Ex. 12); Rebecca Klar, Watchdog Suing ICE, DHS, CBP to Release Records of Deaths in

Custody, THE HILL, July 23, 2020, https://thehill.com/regulation/court-battles/508701-watchdog-

suing-ice-dhs-cbp-to-release-records-of-deaths-in-custody (Baranetsky Decl. ¶ 15, Ex. 13).

Moreover, it is unclear if the sealed records here—some of which date back a year—are entirely

stale. Thus, unsealing appears even more appropriate because countervailing interests seem

nonextant—where these records appear to have no putative harm and can only provide historical

context for the public on the government’s decisions. Additionally, as stated above, CIR consents

to any necessary redactions to the sealed documents to protect the asylum-seekers’ personal

privacy—further indicating that no countervailing interests exist.

                                        III.   ARGUMENT

A.      CIR SHOULD BE PERMITTED TO INTERVENE FOR THE LIMITED
        PURPOSE OF UNSEALING COURT RECORDS.

        The press has standing to assert the right of public access to court records and proceedings.

See Globe Newspaper Co. v. Super. Ct., 457 U.S. 596, 609 n.25 (1982) (“representatives of the

press and general public must be given an opportunity to be heard on the question of their

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exclusion” from court proceedings) (citation and internal quotation marks omitted); Richmond

Newspapers, Inc. v. Virginia, 448 U.S. 555, 586 n.2 (1980) (“[T]he institutional press is the likely,

and fitting, chief beneficiary of a right of access because it serves as the ‘agent’ of interested

citizens, and funnels information about trials to a large number of individuals.”); see also In re

Leopold to Unseal Certain Elec. Surveillance Appls. & Orders, 964 F.3d 1121, 1134 (D.C. Cir.

2020). The D.C. Circuit has long allowed limited intervention for the purpose of challenging the

sealing of judicial documents. United States v. El-Sayegh, 131 F.3d 158, 160 (D.C. Cir. 1997)

(media organizations intervening in criminal proceedings to challenge sealing of plea agreement).

          The D.C. Circuit also routinely permits non-party news organizations to intervene in civil

cases for the limited purpose of requesting that records be unsealed. See, e.g., In re Reporters

Comm. for Freedom of the Press, 773 F.2d 1325, 1327 (D.C. Cir. 1985) (media organization’s

intervention in defamation action to challenge sealing); In re Fort Totten Metrorail Cases, 960 F.

Supp. 2d 2, 11 (D.D.C. 2013) (newspaper’s intervention to unseal settlement documents in a civil

case); Tavoulareas v. Washington Post Co., 111 F.R.D. 653, 655 (D.D.C. 1986) (media

organization’s intervention to unseal discovery materials in a civil case); see also Dhiab v. Trump,

852 F.3d 1087 (D.C. Cir. 2017) (allowing intervention in habeas corpus proceeding for the purpose

of seeking unsealing of “classified videotapes”).

          CIR has been reporting on the questions involving this case.2 Access to the records at issue

is critical for CIR to understand the basis of the Court’s rulings, and to present readers with a full

and accurate account of the proceedings and historical decisions that helped lead Defendants to

their current state of affairs. Consistent with the authorities discussed above, CIR respectfully




2
    See, e.g., Morel, supra at 7.
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requests leave to intervene for the limited purpose of asserting the public’s (and its own) right of

access and challenging the sealing of records in this matter.

B.      THERE IS A STRONG PRESUMPTION THAT THE RECORDS IN THIS CASE
        ARE OPEN TO THE PUBLIC.

        Now, years after this case was initially filed, this motion presents an opportune time to

unseal the court records related to one of the most impactful and important news stories vital to

the public interest today. The sealed documents in this case are subject to the First Amendment

and common-law rights of access, and there are no countervailing government interests sufficient

to overcome these rights. Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1991).

        1.     The First Amendment and Common Law Rights of Access Apply to Civil
               Court Records Involving Detainment to Ensure Accountability and Integrity.

        Both the First Amendment and common law provide the public and the press with a

presumptive right of access to a wide range of court records. Press-Enterprise Co. v. Super. Ct.,

478 U.S. 1 (1986) (“Press-Enterprise II”) (preliminary hearings); Press-Enterprise Co. v. Super.

Ct., 464 U.S. 501 (1984) (“Press Enterprise I”) (voir dire); Globe Newspaper, 457 U.S. 596

(criminal trials). Building on these cases, the D.C. Circuit has declared that “[t]he first amendment

guarantees the press and the public a general right of access to court proceedings and court

documents unless there are compelling reasons demonstrating why it cannot be observed.”

Washington Post, 935 F.2d at 287 (emphasis added). The common-law right of access is an

exceptionally broad right. Only “a narrow range of documents” is exempt from the common-law

right of public access. Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006);

see also In re Leopold, 964 F.3d at 1127 (explaining importance and breadth of right in D.C.

Circuit).




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        2.      The Court Should Unseal the Parole Determinations According to the First
                Amendment Right of Access.

        The First Amendment dictates under its two-part test that the parole determinations—

involving detainment of individuals—at issue in this case should be disclosed. There are two

considerations for courts when deciding whether a particular judicial record is subject to the First

Amendment presumption in favor of access. Press-Enterprise II, 478 U.S. at 8. The first is

“whether the place and process have historically been open to the press and general public. Id.

The second is “whether public access plays a significant positive role in the functioning of the

particular process in question.” Id. Where a qualified public right of access exists, the records

cannot be closed unless “specific, on the record findings are made demonstrating that ‘closure is

essential to preserve higher values and is narrowly tailored to serve that interest.’” Id. at 13-14

(quoting Press-Enterprise I, 464 U.S. at 510).

        Under the first prong of the Press-Enterprise test (the historic-availability prong), the right

of access to these parole determinations begins with the historically indisputable right of access to

civil and criminal trials, particularly where there are questions of detention at hand, in order to

ensure a just and fair process has been applied. Since the Norman Conquest, publicity of criminal

trials has allowed “people not actually attending [trials to] . . . have confidence standards of fairness

are being observed . . . and that deviations will become known.” Press-Enterprise I, 464 U.S. at

508. “Openness thus enhances both the basic fairness of the criminal trial and the appearance of

fairness so essential to public confidence in the system.” Id.; see also Richmond Newspapers, 448

U.S. at 569 (noting that as far back as the 17th century, leading English jurists “saw the importance

of openness to the proper functioning of a trial; it gave assurance that the proceedings were

conducted fairly to all concerned, and it discouraged perjury, the misconduct of participants, and

decisions based on secret bias or partiality.”).

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        Following this historic pattern, courts have recognized that the public has a qualified First

Amendment right of access to numerous types of judicial records in various analogous

proceedings, particularly where detainment is at issue. For instance, in addition to the right

applying to nearly all facets of a criminal trial, see, e.g., N.Y. Civil Liberties Union v. N.Y.C. Transit

Auth., 684 F.3d 286, 297-98 (2d Cir. 2012) (collecting cases), circuit courts across the country

have universally extended the right to cover records such as presentence reports, United States v.

Schlette, 842 F.2d 1574, 1582-83 (9th Cir. 1988), and sentencing hearings.                 In re Hearst

Newspapers, L.L.C., 641 F.3d 168, 176 (5th Cir. 2011) (finding presumption of access, in accord

with decisions by “the Second, Fourth, Seventh, and Ninth Circuits”); see also United States v.

Alcantara, 396 F.3d 189, 196 (2d Cir. 2005) (“There is little doubt that the First Amendment right

of access extends to sentencing proceedings.”).

        Because the distinction between civil and criminal contempt is “elusive” and often without

a difference, see Int’l Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 830-31

(1994), numerous courts have held that the public’s right of access applies equally to civil and

criminal contempt proceedings, especially where incarceration is at hand. In re Grand Jury

Matter, 906 F.2d 78, 86-87 (3d Cir. 1990) (holding that right attaches where incarceration is a

possible penalty); see also Newsday LLC v. Cty. of Nassau, 730 F.3d 156, 164 (2d Cir. 2013)

(holding that the First Amendment public right of access attaches to “civil contempt proceedings

. . . [because they] carry the threat of coercive sanctions”). Given the parole determinations

concern detainment of asylees, as well as the fact that detainment is not just a possibility but a

definite alternative—these records should be disclosed according to the history prong.




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       In line with that trend, although the D.C. Circuit “has neither recognized nor rejected that

the First Amendment affords the public a right of access to civil proceedings,” 3 a court within this

Circuit has determined that documents in civil proceedings with a quasi-criminal nature—such as

habeas proceedings—are covered by the First Amendment public right of access, and thus decided

to unseal records analogous to those in this case. In re Guantanamo Bay Detainee Litig., 624 F.

Supp. 2d 27, 35 (D.D.C. 2009). In In re Guantanamo Bay, detainees at Guantanamo Bay

petitioned for habeas relief to challenge the legality of their indefinite detention at that base. The

Court ordered the government to file a “factual return” as to each petitioner, which would contain

the “factual basis upon which [the government was] detaining” the petitioner. 624 F. Supp. 2d at

30. The government sought to seal the unclassified versions of the returns—arguing that they had

made “inadvertent errors” in developing the unclassified returns and accidentally included some

classified information therein. Id. Multiple press organizations sought leave to intervene to

oppose the sealing of these unclassified returns, and the Court granted their motion. In so doing,

the Court held, as a matter of first impression, that the public had a First Amendment right of

access to filings in civil habeas proceedings. Id. at 34-35. Here, the same historical precedent




3
  Most circuit courts have also recognized that the First Amendment right of access extends to civil
proceedings and records. Dhiab, 852 F.3d at 1099 (Rogers, J., concurring in part and concurring
in the judgment) (“Every Circuit to consider the issue has concluded” that same “right of public
access applies to civil” proceedings as well) (collecting cases); see also Richmond Newspapers,
448 U.S. at 580 n.17; Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 124-27 (2d Cir. 2006)
(holding that the First Amendment secures for the public and the press a right of access to civil
proceedings); Publicker Indus., Inc. v. Cohen, 733 F.2d 1059, 1067-71 (3d Cir. 1984) (“the public
and the press possess a First Amendment . . . right of access to civil proceedings”); Rushford v.
New Yorker Magazine, 846 F.2d 249, 253 (4th Cir. 1988) (“We believe that the more rigorous First
Amendment standard should also apply to documents filed in connection with a summary
judgment motion in a civil case.”); Brown & Williamson Tobacco Corp. v. FTC, 710 F.2d 1165,
1178-79 (6th Cir. 1983) (“The historical support for access to criminal trials applies in equal
measure to civil trials.”); In re Cont’l Ill. Sec. Litig., 732 F.2d 1302, 1308 (7th Cir. 1984) (“[T]he
policy reasons for granting public access to criminal proceedings apply to civil cases as well.”).
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should apply, as the “factual returns” at issue in that case are similar documents to the parole

determinations in this case, in that they involve the government’s explanation of a detained

person’s status.

          Logic—the second factor of the Press-Enterprise II test—“whether public access plays a

significant positive role in the functioning of the particular process in question”—also dictates the

release of the parole determinations. 478 U.S. at 8. For instance, in the Court’s reasoning in In re

Guantanamo Bay is also relevant to that factor. In finding the factor satisfied, the Court there

noted that: (1) “[p]ublic interest in Guantanamo Bay generally and these proceedings specifically

has been unwavering . . . [and the] public’s understanding of the proceedings . . . [would be]

incomplete without the factual returns”; (2) the habeas proceedings at issue were of “critical

importance and relevance,” because they were the “vehicle for [the detainees] to challenge the

government’s decision to detain [them]”; and (3) “opening the judicial process ensures actual

fairness as well as the appearance of fairness.” 624 F. Supp. 2d at 37-38.

          All of those interests are present in this case as well. As in In re Guantanamo Bay, there

is enormous public interest in DHS’s treatment of detainees. Indeed, as recent news media reports

have shown, DHS’s actions regarding the detention of immigrants are perhaps one of the most

reported on stories of the year,4 and have taken on a new salience during the COVID-19 pandemic,

as failure to grant parole can put detainees at substantial risk of contracting the virus in crowded

ICE detentions centers.5 This litigation, like the habeas proceedings in In re Guantanamo Bay, is

also of critical importance as it constitutes a means for some of the most vulnerable in our society

to challenge the circumstances of their detention without due process. See Boumediene v. Bush,




4
    See Blitzer, supra at 1; Golshan, supra at 1.
5
    Morel, supra at 7.
                                                    14
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553 U.S. 723, 797 (2008) (“Within the Constitution’s separation-of-powers structure, few

exercises of judicial power are as legitimate or as necessary as the responsibility to hear challenges

to the authority of the Executive to imprison a person.”); see also Rosales-Garcia v. Holland, 322

F.3d 386, 408 (6th Cir. 2003) (en banc) (finding serious constitutional problems with indefinite

detention of excludable noncitizens); Ngo v. INS, 192 F.3d 390, 396 (3d Cir. 1999) (same).6

“Public access” to parole determinations “provides a check on the process by ensuring that the

public may discover when a [asylee] has been held in contempt and held in custody.” United

States v. Index Newspapers LLC, 766 F.3d 1072, 1093 (9th Cir. 2014). And without access to

Defendants’ parole determinations, the public’s understanding of this litigation and DHS’s

practices is incomplete.7

       Furthermore, logic also shows that there are no countervailing harms that could cause

concern. For instance, grand jury information is kept secret for four “distinct interests” not at issue

here. Cf. Douglas Oil Co. of Cal. v. Petrol Stops Nw., 441 U.S. 211, 218-19 (1979) (listing four

interests inapplicable here). Here, many of the parole determinations are likely stale as time has

passed and circumstances have changed—some individuals may no longer even be in detention or

in this country. Accordingly, because the public has a First Amendment right of access to




6
  See also Nightingale v. U.S. Citizenship & Immigration Servs., 333 F.R.D. 449 (N.D. Cal. 2019)
(certifying class of noncitizens in action against DHS alleging agency engaged in pattern or
practice of failing to make timely determinations on noncitzens’ FOIA requests for their alien
registration files); Abdi v. Duke, 280 F. Supp. 3d 373, 2017 WL 5599521, at *23 (W.D.N.Y. Nov.
17, 2017) (As a federal court said in a similar case involving asylee detention, that class members’
“physical and psychological impairments” resulting from their “prolonged confinement”
established that detainees were irreparably harmed.), vacated in part on other grounds sub
nom. Abdi v. McAleenan, 405 F. Supp. 3d 467 (W.D.N.Y. 2019).
7
 In fact, the stated purpose of the 2009 Parole Directive “is to ensure transparent, consistent and
considered ICE parole determinations for arriving aliens seeking asylum in the United States.”
Parole Directive at ¶ 1 (emphasis added).
                                                  15
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Defendants’ parole determinations under the Press-Enterprise II test, the Court should grant CIR’s

motion in the absence of a compelling and narrowly-tailored government interest to the contrary.

       3.      Continued Blanket Sealing of Defendants’ Parole Determinations Cannot
               Serve Any Compelling Governmental Interest, Especially Where Anonymity
               Can Easily Be Provided Through Redactions.

       Because the constitutional right of access applies to the records of this case, the government

bears the burden to justify any sealing or redaction of records. In re Appl. of N.Y. Times Co. for

Access to Certain Sealed Court Records, 585 F. Supp. 2d 83, 90 (D.D.C. 2008). That heavy burden

demands the government demonstrate that closure “‘is necessitated by a compelling governmental

interest, and is narrowly tailored to serve that interest.’” Globe Newspaper Co. v. Superior Court

for Norfolk Cty., 457 U.S. 596, 615 (1982). “The interest is to be articulated along with findings

specific enough that a reviewing court can determine whether the closure order was properly

entered.” Press-Enterprise I, 464 U.S. at 510. At this stage, there has been no public explanation

as to why the documents in these proceedings must be sealed in full. See In re Capital Cities/ABC,

Inc.’s Appl. for Access to Sealed Transcripts, 913 F.2d 89, 95 (3d Cir. 1990). Nonetheless, there

can be no compelling interest that justifies withholding of the parole determinations wholesale,

particularly where there is such a demonstrable public interest and redactions can easily be put in

place to quell any privacy concerns.

       The ability for countless cases to move forward with redacted names while still outlining

legal arguments and at least part of the underlying factual circumstances, see, e.g., R.I.L-R, 80 F.

Supp. 3d at 172; Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185, 189-90 (2d Cir. 2008); Roe

v. Aware Woman Ctr. for Choice, Inc., 253 F.3d 678, 684-87 (11th Cir. 2001); Does I Thru XXIII

v. Advanced Textile Corp., 214 F.3d 1058, 1069 (9th Cir. 2000), demonstrates that it is easily

feasible for portions of these parole determinations to be made open to public view without



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jeopardizing any compelling governmental interest. Indeed, this Court and the D.C. Circuit have

routinely permitted parties to proceed anonymously. See, e.g., Doe v. Stephens, 851 F.2d 1457,

1459 n.2 (D.C. Cir. 1988); Doe v. U.S. Dep’t of Justice, 660 F. Supp. 2d 31, 40 (D.D.C. 2009);

Doe v. MAMSI Life & Health Ins. Co., 471 F. Supp. 2d 139 (D.D.C. 2007); Doe v. Rumsfeld, 341

F. Supp. 2d 1 (D.D.C. 2004); Doe v. Islamic Salvation Front, 257 F. Supp. 2d 115, 117-18 (D.D.C.

2003). So, too, can parole determinations easily be made anonymous.

         Moreover, large amounts of parole stories, determinations and information have already

been made public through media accounts and other channels, Laura Villagran, Cuban Asylum

Seeker     Remains    Detained     by    ICE    Without     Parole,    NBC,     Feb.    2,    2020,

https://www.nbcdfw.com/news/local/texas-news/cuban-asylum-seeker-remains-detained-by-ice-

without-parole/2307893/ (Baranetsky Decl. ¶ 16, Ex. 14) (discussing multiple disclosed parole

denials), so keeping such information under seal is not necessary—or justifiable. See In re Grand

Jury Subpoena, Judith Miller, 493 F.3d 152, 154-55 (D.C. Cir. 2007) (ordering the “release” of

“those redacted portions of [the] concurring opinion” where “the ‘cat is out of the bag’” given that

one grand jury witness “discusse[d] his role on the CBS Evening News”); see also In re Motions

of Dow Jones & Co., 142 F.3d 496, 505 (D.C. Cir. 1998) (noting that where a witness’s attorney

“virtually proclaimed from the rooftops that his client had been subpoenaed,” that fact was no

longer protected by grand jury secrecy). And redacting portions of these parole determinations is

a more narrowly tailored (and thus less-restrictive) alternative to withholding them wholesale. See

United States v. Doe, 356 F. App’x 488, 490 (2d Cir. 2009) (“Where . . . a party seeks to seal the

record of criminal proceedings totally and permanently, the burden is heavy indeed.” (emphasis in

original)); In re Knight Publ’g Co., 743 F.2d 231, 234 (4th Cir. 1984) (citing Press-Enterprise I).

In Dow Jones, for instance, the D.C. Circuit recognized that the trial court must consider whether



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redactions, rather than sealing whole documents, would be possible. 142 F.3d at 502, 506. This

Court should do the same for the parole determinations.

       4.      The Court Should Unseal the Parole Determinations According to the
               Common Law Right of Access.

       The public’s common law right of access provides further justification to unseal the filings

in this action. “The common law right of access to judicial records antedates the Constitution.”

El-Sayegh, 131 F.3d at 161-62. It provides a “right to inspect and copy public records and

documents, including judicial records and documents.” Nixon v. Warner Commc’ns, Inc., 435

U.S. 589, 597-98 (1978) (internal footnote omitted). In analyzing whether the common law right

of access applies, DC courts apply a two-step inquiry: “(1) whether the document being sought is

a judicial record; and (2) whether the interests favoring public access outweigh those interests

favoring nondisclosure.” Herron v. Fannie Mae, No. CV 10-943 (RMC), 2016 WL 10677615, at

*1 (D.D.C. June 20, 2016). Under both steps of this inquiry, it is clear that the common law right

of access applies to Defendants’ productions of the parole determinations.

       First, these productions undoubtedly qualify as judicial records. Courts have determined

that whether a document qualifies as a “judicial record” is based on “the role it plays in the

adjudicatory process.” SEC v. Am. Int’l Grp., 712 F.3d 1, 3 (D.C. Cir. 2013) (quoting El-Sayegh,

131 F.3d at 163) (explaining that the common law protects the public’s right to inspect and copy

“those ‘government document[s] created and kept for the purpose of memorializing or recording

an official action, decision, statement, or other matter of legal significance, broadly conceived’”

(quoting Wash. Legal Found. v. U.S. Sentencing Comm’n, 89 F.3d 897, 905 (D.C. Cir. 1996))).

“Something ‘intended to influence’ a court’s pending decision—a party’s brief, for example—is

almost certainly a judicial record, while a document about which the court ‘made no decisions’

and did not ‘otherwise rel[y]’ does not qualify.” Cable News Network, Inc. v. FBI, 384 F. Supp.

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3d 19, 41-44 (D.D.C.) (Boasberg, J.) (internal citation omitted), recons. denied, 401 F. Supp. 3d

187 (D.D.C.), appeal filed, No. 19-5278 (D.C. Cir. Oct. 21, 2019). Here, the Court ordered

Defendants to file these parole determinations on the docket to monitor their compliance with the

Court’s Preliminary Injunction Order. See Oct. 7, 2019 Minute Order. The Court relied on these

documents in ruling on Plaintiffs’ contempt motion (see Dkt. No. 89 at 4), and will very likely

need to consider them when ruling upon the parties’ upcoming summary judgment motions, as

well as Plaintiffs’ anticipated motion for permanent injunctive relief.8 Accordingly, these parole

determinations are critical to the Court’s adjudicatory process, and therefore constitute “judicial

records” to which the common law right of access presumptively applies.

       “A court’s conclusion that a document constitutes a judicial record triggers a ‘strong

presumption in favor of public access.’” Cable News Network, 384 F. Supp. 3d at 41-44 (quoting

EEOC v. Nat’l Children's Ctr., Inc., 98 F.3d 1406, 1409 (D.C. Cir. 1996)). At this second step of

the unsealing analysis, DC courts weigh the following six facts to determine whether the interests

favoring public access outweigh those favoring nondisclosure: (1) the need for public access to

the documents at issue; (2) the extent of previous public access to the documents; (3) the fact that

someone has objected to disclosure, and the identity of that person; (4) the strength of any property

and privacy interests asserted; (5) the possibility of prejudice to those opposing disclosure; and (6)

the purposes for which the documents were introduced during the judicial proceedings. United




8
 Defendants’ monthly productions do not constitute mere discovery materials, which courts have,
on occasion, held do not qualify as judicial records where they are only shared between the parties.
See Mokhiber v. Davis, 537 A.2d 1100, 1109, 1111 (D.C. 1988) (per curiam) (presumptive right
of public access applies to motions filed with the court concerning discovery, evidence submitted
with such motions, and the court's depositions; but presumptive right of public access does not
apply to depositions, interrogations, or the documents obtained in discovery that are neither
submitted as evidence at trial nor filed in connection with motions).
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States v. Hubbard, 650 F.2d 293, 317-21 (D.C. Cir. 1980). Here, all six Hubbard factors weigh in

favor of public access for the parole determinations CIR seeks to unseal.

       First, there is an enormous need for public access to these documents. Public oversight is

especially important where, as here, the due process rights of those most vulnerable in our society

is at issue. See, e.g., Rosales-Garcia, 322 F.3d at 408-410 n.29 (finding serious constitutional

problems with indefinite detention of excludable noncitizens, noting, “[N]o circuit has concluded

that the Due Process Clauses of the Fifth and Fourteenth Amendments do not apply to excludable

aliens.”); Ngo, 192 F.3d at 396 (same); Ahad v. Lowe, 235 F. Supp. 3d 676, 687-88 (M.D. Pa.

2017) (“rising sea of case law” “has consistently determined that detained aliens,” including

arriving noncitizens, “are entitled to some essential measure of due process”); Maldonado v.

Macias, 150 F. Supp. 3d 788, 800 (W.D. Tex. 2015) (“[I]t is clear that aliens—even inadmissible

aliens—are entitled to some constitutional protections, including some amount of due process.”).

Additionally, “[p]ublic access” to parole determinations “provides a check on the process by

ensuring that the public may discover when a[n] [asylee] has been held in . . . custody.” Index

Newspapers LLC, 766 F.3d at 1093; see also Levine v. United States, 362 U.S. 610, 615-16 (1960).

This Circuit has also expressed the importance of federal agencies following their own rules, Battle

v. FAA, 393 F.3d 1330, 1336 (D.C. Cir. 2005); see also Steenholdt v. FAA, 314 F.3d 633, 639

(D.C. Cir. 2003) (“The Accardi doctrine requires federal agencies to follow their own rules, even

gratuitous procedural rules that limit otherwise discretionary actions.”), and there is no other way

to know whether parole policies are followed other than for the public to have some insight into

the actual parole determinations.

       The second factor—the extent of previous public access—also weighs in favor of

unsealing. As set forth above, courts have previously granted public access to judicial records in



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civil cases where those records were significant to the adjudicatory process, and also to civil

proceedings of a quasi-criminal nature—such as habeas proceedings. Additionally, courts have

historically applied the right of access in circumstances where there is a need for government

accountability, particularly involving discretionary choices made by the executive branch. See,

e.g., United States v. Rosen, 487 F. Supp. 2d 703, 716-17 (E.D. Va. 2007) (“Of course,

classification decisions are for the Executive Branch, and the information’s classified status must

inform an assessment of the government’s asserted interests under Press-Enterprise. But

ultimately, trial judges must make their own judgment about whether the government’s asserted

interest . . . is compelling or overriding.”); In re Washington Post Co., 807 F.2d 383, 391-92 (4th

Cir. 1986) (“History teaches us how easily the spectre of a threat to ‘national security’ may be used

to justify a wide variety of repressive government actions. A blind acceptance by the courts of the

government’s insistence on the need for secrecy . . . would impermissibly compromise the

independence of the judiciary and open the door to possible abuse.”). This tradition “ensure[s]

that th[e] constitutionally protected ‘discussion of governmental affairs’ is an informed one.”

Globe Newspaper, 457 U.S. at 604-05 (citation omitted). To accept otherwise would be to give

the Executive branch unilateral power to determine when the First Amendment access right

applies.   Indeed, the D.C. Circuit has emphasized repeatedly that “it is the court, not the

Government, that has discretion to seal a judicial record.” Bismullah v. Gates, 501 F.3d 178, 188

(D.C. Cir. 2007); see also El Sayegh, 131 F.3d at 160 (same).

       The third through fifth factors also weigh in favor of unsealing. These factors—(3) the fact

that someone has objected to disclosure, and the identity of that person; (4) the strength of any

property and privacy interests asserted; and (5) the possibility of prejudice to those opposing

disclosure—can be considered together. In this case, Plaintiffs have not objected to disclosure of



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the parole determinations as long as their names and identifying information are redacted prior to

unsealing—to which CIR has consented.9 Defendants have objected, but have not provided a

justification for doing so, nor explained how they would be prejudiced by the unsealing. Courts

have held that unsupported objections to unsealing, especially by parties, carry little weight. See

Hyatt v. Lee, 251 F. Supp. 3d 181, 185 (D.D.C. 2017) (noting that “litigants to this proceeding

have a lesser claim to privacy than third parties”); see also In re Appl. of N.Y. Times, 585 F. Supp.

2d at 92-94 (granting The New York Times’ motion to unseal warrant materials after an

investigation concluded, noting that the government-defendant failed to establish any possibility

of prejudice); Cable News Network, 384 F. Supp. 3d at 41-44 (granting access to judicial records

where the FBI failed to “articulate [a sufficient] basis for the Court to conclude that [the fourth and

fifth factors] favor[ed] withholding.”).

        Finally, the sixth factor—the purposes for which the documents were introduced during

the judicial proceedings—also weighs in favor of unsealing. “The more relevant a pleading is to

the central claims of the litigation, the stronger the presumption of unsealing the pleading

becomes.” United States v. Thompson, 199 F. Supp. 3d 3, 12 (D.D.C. 2016); see also U.S. ex rel.

Durham v. Prospect Waterproofing, Inc., 818 F. Supp. 2d 64, 69 (D.D.C. 2011) (explaining that

“there is less of a pressing concern to unseal pleadings if they are not relevant to the claims,” for

example, if they were not used at trial or relied upon by the trial judge in his or her decision). Here,

it is indisputable that Defendants’ monthly productions of parole determinations are critical to the


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  Courts may order government-defendants to redact documents prior to unsealing them. See In
re Appl. of N.Y. Times Co. for Access to Certain Sealed Court Records, 585 F. Supp. 2d 83, 94
(D.D.C. 2008) (granting The New York Times’ motion to unseal and requiring the government-
defendant “to release the warrant materials, redacting limited portions that would tend to reveal
the identity of a confidential informer . . . [and to] promptly provide the Court with the proposed
redactions of their records.”).



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merits of the case. The Court itself acknowledged that it ordered the Defendants to file these

monthly reports “so that it could monitor compliance with the Directive and the injunction.” Dkt.

No. 128 at 2. These reports are direct proof of whether Defendants are, in fact, changing their

practice and granting parole to any asylees or instead, continuing to mass-incarcerate them without

due process. Accordingly, these reports will continue to be of great importance in this litigation

as they will likely provide one of the main sources of evidence for the parties at the summary

judgment and permanent injunction stage.

       Overall, because none of these six Hubbard factors overcomes the common law

presumption in favor of disclosure of judicial records, the Court should grant the motion and allow

the public to have access to Defendants’ parole determinations. See Metlife, Inc. v. Fin. Stability

Oversight Council, 865 F.3d 661, 668-69 (D.C. Cir. 2017) (holding common law right of access

attached to district court briefs and record); see also EEOC v. Nat’l Children’s Ctr., Inc., 98 F.3d

1406, 1410 (D.C. Cir. 1996).

                                    IV.    CONCLUSION

       For all the reasons stated, CIR respectfully requests that this Court grant its request for

limited person intervention; order the immediate unsealing of the parole determinations filed under

seal in this action; and order that any future parole determinations be filed as unsealed.

Date: August 20, 2020

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                                  CERTIFICATE OF SERVICE

          I certify that on August 20, 2020, I served a copy of the foregoing document on the Court

and all parties of record by causing this document to be filed with the clerk of the Court through

the CM/ECF system, which will provide electronic notice of this document to all attorneys of

record.



Date: August 20, 2020

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